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 9
                                UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
                                       WESTERN DIVISION
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13
       UNITED STATES OF AMERICA,                    Case No. 2:20-CR-326-JFW-1
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                   Plaintiff,                       EX PARTE APPLICATION TO
15                                                  CONTINUE SURRENDER DATE;
             v.                                     DECLARATION OF COUNSEL
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       JOSÉ LUIS HUIZAR, et al.,
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                   Defendants.
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 1
             Defendant José Luis Huizar, through counsel, seeks an order continuing his
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       surrender date from August 30, 2024, to December 2, 2024. This application is based
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       upon the attached declaration of counsel, exhibits contemporaneously filed under seal,
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       and the other records in this case. The government’s position is as follows:
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             The government previously agreed to a four-month continuance relating to
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             the issues discussed in defendant’s April 16, 2024 under-seal filing, on the
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             condition that defendant agree not to seek further continuances, barring
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             some new, unexpected, and extraordinary event. (Dkt. No. 1409
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             ¶ 10.) Defendant agreed to that condition. (Id.) The government agrees
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             that the information defendant’s counsel is submitting under seal to the
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             Court concurrently with this filing appears to be a new, unexpected, and
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             extraordinary event. In light of this, the government does not object to a
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             final 30-day continuance of defendant’s surrender date, but objects to a
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             continuance longer than 30 days and any further continuances.
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                                              Respectfully submitted,
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                                              CUAUHTEMOC ORTEGA
20                                            Federal Public Defender
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             Dated: August 28, 2024           /s/ Adam Olin
22
                                              CHARLES J. SNYDER
23                                            ADAM OLIN
                                              Deputy Federal Public Defender
24                                            Attorneys for José Luis Huizar
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